Case 2:05-Cr-20318-.]TF Document 13 Filed 08/31/05 Page 1 of 2 Page|D 14

UNITED STATES DISTRICT COURT Fll.ED B`f w.-»-»---- D'O°
WESTERN DISTRICT OF TENNESSEE _
Western Division 05 AUG 3l PH 3‘ 38
ll'lGWlS lv'l. (S{)Ul.ll
UNITED STATES OF AMERICA )US PIQTR!C.§DH%M
:|' t ”.F‘ lb ,
-vs- Case No. Z:llll§chZOSIl§l-GOID

MAURICE NASH

 

ORDER OF DETENT|ON PEND|NG TRlAL
F|ND|NGS
ln accordance with the Bail Reform Act, 18 U.S.C. § 3142(1`), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release will reasonably assure the
appearance of the defendant as required or the safety of any other person and the
community

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing

DlRECT|ONS REGARD|NG DETENTION

MAURICE NASH is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal MAURICE NASH shall be afforded a reasonable opportunity for private
consultation with defense counsel On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United Statcs marshal for
the purpose of an appearance in connection with a Court proceeding

Date: August31,2005 § 2 ;§;222& Qz___

s'. THOMAS ANDERSON
UNITED sTATEs MAGISTRATE IUDGE

ThlS dOCUmgn
l entered \
with Ftuj@ 55 and/or 3 On the docket 3 .

: .|| !E|!EE P 2 m P |BJE
UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 2:05-CR-20318 Was distributed by faX, mail, or direct printing on
September 7, 2005 to the parties listed.

 

 

FPD

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Joseph C Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Doris A. Randle-Holt

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

